976 F.2d 47
    298 U.S.App.D.C. 99
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Alice M. MORRIS, Appellant.
    No. 91-3269.
    United States Court of Appeals, District of Columbia Circuit.
    Sept. 16, 1992.
    
      Before BUCKLEY, SENTELLE and KAREN LeCRAFT HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for an opinion.   See D.C.Cir.Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that this appeal be dismissed for lack of jurisdiction.   The district court's decision to recommend, rather than require, that appellant be provided in-patient drug treatment is not reviewable on appeal.   See 18 U.S.C. § 3472.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    